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  IT IS ORDERED as set forth below:



   Date: October 10, 2019
                                                     _________________________________

                                                               Jeffery W. Cavender
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      §       CHAPTER 7
                                            §
BEAUTIFUL BROWS LLC,                        §       Case No. 18-66766-jwc
                                            §
       Debtor.                              §

         BAR ORDER ESTABLISHING DEADLINE FOR FILING REQUESTS
           FOR PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
          PURSUANT TO 11 U.S.C. § 503 ARISING IN CHAPTER 11 ONLY
                    OCTOBER 3, 2018 - AUGUST 30, 2019

                                   THIS IS A BAR ORDER

TO: ALL POTENTIAL HOLDERS OF CHAPTER 11 ADMINISTRATIVE EXPENSE
CLAIMS AGAINST THE DEBTOR FOR THE PERIOD OCTOBER 3, 2018 TO AND
THROUGH AUGUST 30, 2019.

       PLEASE TAKE NOTICE that S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for

the bankruptcy estate (the “Estate”) of Beautiful Brows LLC, Debtor (the “Debtor”) in the above

captioned case (the “Case”) has filed a Motion to Set Administrative Claims Bar Date [Doc. No.

184] (the “Motion”). In the Motion, the Trustee requests the entry of an order establishing a bar
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date for the filing of a request for allowance and payment of administrative expenses claims under

11 U.S.C. § 503, including under 11 U.S.C. § 503(b)(9), in the Chapter 11 Case of the Debtor.

       Upon consideration of the Motion and for good cause shown, it is hereby ORDERED as

follows:

       1.      The Motion is GRANTED as set forth herein.

       2.      You are hereby notified as follows:

                  a. “Administrative Expense Claim” in this order means a claim for payment of

                      an administrative expense of a kind specified in 11 U.S.C. § 503(b), and

                      referred to in 11 U.S.C. § 507(a)(1). 11 U.S.C. § 503(b)(1)(A)(i) provides,

                      and this order hereby directs, that Administrative Expense Claims include,

                      without limitation wages, salaries, and commissions for services rendered

                      for the period October 3, 2018 to and through August 30, 2019.

                  b. Notwithstanding the paragraph just above, Administrative Expense Claims

                      in this order do not include (a) any claim or request for compensation or

                      reimbursement under 11 U.S.C. § 330 or § 331 for the Trustee or anyone

                      whom he has hired, (b) any entity whose administrative expense claim has

                      been previously allowed by a final order of the Court and (c) fees due the

                      United States Trustee under 28 U.S.C. § 1930. These are the only Chapter

                      11 Administrative Claims exempted from the scope of this Bar Order.

       3.      NOTICE IS HEREBY GIVEN THAT ANY APPLICATION FOR

ALLOWANCE OF AN ADMINISTRATIVE EXPENSE CLAIM ARISING WHILE THIS

BANKRUPTCY CASE WAS A CASE UNDER CHAPTER 11 OF TITLE 11, UNITED

STATES CODE MUST BE FILED ON OR BEFORE DECEMBER 2, 2019, WITH THE
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CLERK       OF     THE    BANKRUPTCY            COURT,       13th FLOOR,        UNITED       STATES

COURTHOUSE, 75 TED TURNER DRIVE SW, ATLANTA, GA 30303;

       4.        ANY ADMINISTRATIVE EXPENSE CLAIM FOR THE PERIOD

OCTOBER 3, 2018 THROUGH AUGUST 30, 2019 THAT IS NOT FILED BY DECEMBER

2, 2019, MAY BE BARRED, AND THEREBY SHALL RECEIVE NO DISTRIBUTION OR

PAYMENT FROM THIS DEBTOR’S BANKRUPTCY ESTATE – EXCEPT THAT ANY

CLAIM THAT HAS ALREADY BEEN ALLOWED BY AN ORDER OF THIS COURT

NEED NOT BE RE-FILED; and

       5.        The Trustee shall serve this Order and Notice upon all known creditors of the

debtor, all parties in interest to this case, all parties that have filed a notice of appearance in this

case, and any party that the Trustee reasonably believes may hold an Administrative Expense

Claim, no later than ten days after entry of this order.

                                     *** END OF ORDER ***

Prepared and Presented by:

        LAW OFFICES OF HENRY F. SEWELL JR., LLC

        /s/ Henry F. Sewell, Jr.
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                                   DISTRIBUTION LIST


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